       Case 2:16-cr-00239-MCE Document 75 Filed 05/07/18 Page 1 of 3


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     Sacramento, CA 95814
4    Telephone: (916) 498-5700
5    Attorneys for Defendant
     LORAINE DIXON
6
7
                                      UNITED STATES DISTRICT COURT
8
                                    EASTERN DISTRICT OF CALIFORNIA
9
10   UNITED STATES OF AMERICA,                     )   Case No. 2:16-cr-239 MCE
                                                   )
11                   Plaintiff,                    )   STIPULATION AND [PROPOSED] ORDER
                                                   )   TO MODIFY SPECIAL CONDITIONS OF
12         v.                                      )   RELEASE; AMENDED
                                                   )
13   LORAINE DIXON,                                )   Judge: Hon. CAROLYN K. DELANEY
                                                   )
14                  Defendant.                     )
                                                   )
15                                                 )
16
             IT IS HEREBY STIPULATED between plaintiff, United States of America, and
17
     Defendant Loraine Dixon, through their respective attorneys, that the release conditions imposed
18
     on Ms. Dixon on January 6, 2017 (Dkt. 10), may be modified to delete:
19
            10.     You submit to drug and/or alcohol testing as approved by the pretrial
20   services officer. You must pay all or part of the costs of the testing services based upon
     your ability to pay, as determined by the pretrial services officer.
21
22           This stipulation was approved by Pretrial Services Officer Renee Basurto.

23           The parties further stipulate that the Court adopt the Amended Conditions of Release,

24   attached hereto as Exhibit A, which incorporates the above modification.

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      Stipulation to Modify Special Condition of       -1-
      Release
      Case 2:16-cr-00239-MCE Document 75 Filed 05/07/18 Page 2 of 3


1    DATED: May 4, 2018                            HEATHER E. WILLIAMS
2                                                  Federal Defender
3                                                  /s/ Jerome Price
4                                                  JEROME PRICE
                                                   Assistant Federal Defender
5                                                  Attorneys for LORAINE DIXON

6    DATED: May 4, 2018                            MCGREGOR W. SCOTT
                                                   United States Attorney
7
8                                                  /s/ Matthew Yelovich
                                                   MATTHEW YELOVICH
9                                                  Assistant United States Attorney
                                                   Attorney for Plaintiff
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      Stipulation to Modify Special Condition of     -2-
      Release
       Case 2:16-cr-00239-MCE Document 75 Filed 05/07/18 Page 3 of 3


1                                                  ORDER
2            The Court having reviewed and considered the parties’ stipulation, hereby adopts the
3    stipulation in its entirety. The Defendant’s conditions of release shall be modified to remove the
4    following condition:
5                    10.     You submit to drug and/or alcohol testing as approved by the
                     pretrial services officer. You must pay all or part of the costs of the
6                    testing services based upon your ability to pay, as determined by the
7                    pretrial services officer.

8    The Court hereby adopts the Amended Conditions of Release as its Order. The Defendant shall

9    abide by all conditions contained in the Amended Conditions of Release.

10
11   IT IS SO ORDERED.
12
13   Dated: May 7, 2018
                                                     _____________________________________
14                                                   CAROLYN K. DELANEY
15                                                   UNITED STATES MAGISTRATE JUDGE

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      Stipulation to Modify Special Condition of    -3-
      Release
